 OPINION. OppeR, Judge: These circumstances are indistinguishable from Frank B. Thompson, 42 B. T. A. 121, which has now stood undisturbed by legislative, judicial, or administrative action for upward of 13 years. On the authority of that case, the real property transferred by petitioners to the corporation in which they and their children owned stock is a taxable gift to its full extent. Robert H. Scanlon, 42 B. T. A. 997, which dealt with the transfer to a corporation wholly owned by the transferor is distinguishable from these proceedings on the same grounds as those on which that opinion itself distinguishes the Thompson case. And the transfer to their corporation by petitioners of valuable property is an entirely different thing from the renunciation of the undeclared dividend which occurred in Emily Coles Collins, 1 T. C. 605. .From Frank B. Thompson, supra, it also follows that each petitioner is entitled to but one exclusion for gift tax purposes for each year. Reviewed by the Court. Decisions will be entered under Bule 50. 